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 1   David A. Tilem (SBN 103825)
     LAW OFFICES OF DAVID A. TILEM
 2   206 North Jackson Street, Suite 201
     Glendale, California 91206
 3   Tel: 888-257-7648 * 818-507-6000
     Fax: 818-507-6800
 4   DavidTilem@TilemLaw.com
 5   Proposed Attorneys for Debtor-
          in-Possession
 6
 7                                             UNITED STATES BANKRUPTCY COURT
 8                                             CENTRAL DISTRICT OF CALIFORNIA
 9                                                   LOS ANGELES DIVISION
10
11   In re:                           )                             Case No. 2:22-bk-10994-BB
                                      )
12                                    )
                                      )                             Chapter 11
13                                    )
                                      )                                     EMERGENCY MOTION
14                                    )                             FOR ORDER AUTHORIZING DEBTOR TO
                                      )                             PAY PRE-PETITION PRIORITY
15                                    )                             PAYROLL CLAIMS, PAYROLL RELATED
                                      )                             TAXES AND TO HONOR PRE-PETITION
16   BETTER 4 YOU BREAKFAST, INC.,    )                             EMPLOYEE BENEFITS OBLIGATIONS;
                                      )                             MEMORANDUM OF POINTS AND
17                                    )                             AUTHORITIES
                                      )
18                                    )                             Date:      TO BE SET BY COURT
                                      )                             Time:
19                                    )                             CtRm: 1539
                                      )                                   255 East Temple Street
20                  Debtor.           )                                   Los Angeles, CA 90012
     ________________________________ )
21
     TO THE HONORABLE SHERI BLUEBOND, UNITED STATES BANKRUPTCY JUDGE,
22
     THE OFFICE OF THE UNITED STATES TRUSTEE, AND ALL PARTIES IN
23
     INTEREST:
24
                 NOTICE IS HEREBY GIVEN that Debtor and debtor-in-possession
25
     Better 4 You Breakfast, Inc. (“Debtor”) has filed this motion
26
     entitled:
27
     / / /
28
     / / /

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  1               Emergency Motion for Order Authorizing Debt                      r to Pay Pre­
                  Petition Priority Payroll, Payroll Related                       axes and to
  2               Honor Pre-Petition Employee Benefits Obliga                      ions;
                  Memorandum of Points and Authorities; Decla                      ation of
  3               Jacqueline Duvivier in Support
  4               By this motion, Debtor seeks authorization                       n an emergency
  5   basis to pay: current payroll obligations (those incurred in the
  6   payroll period which includes the Petition Date)                               pay related
  7   payroll taxes, and honor pre-petition employment benefits
  8   obligations.
  9               This motion is based on the attached Memora dum of Points and
 10   Authorities and Declarations, pleadings and othel documents on file
 11   with the Court in this matter and such additiona                              evidence as may
 12   be accepted by the Court at the time of the hear' ng.
 13               NOTICE IS FURTHER GIVEN that, pursuant to L                           Bankruptcy
 14   Rule 9075-1(a), the Court will schedule a hearin                              on this Emergency
 15   Motion.               Notice of the hearing date and time wil                 be transmitted as
 16   directed by the Court.                           It is most likely that t                 will be
 17   conducted remotely by Zoom.                           If that is the case, the Zoom access
 18   information will also be provided as directed by the Court.
                                             28
 19   Dated: February XX
                      27, 2022                                                                  TILEM

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 1                                          MEMORANDUM OF POINTS AND AUTHORITIES
 2                                                             I.
 3                                            JURISDICTION AND APPLICABLE LAW
 4               The Court has jurisdiction over this motion pursuant to 28
 5   U.S.C. § 157 and 1334. This proceeding is a core proceeding under
 6   28 U.S.C. §§ 157(b)(2)(A), (B) and (M).
 7               Venue of this case and this Motion is proper in this district
 8   pursuant to 28 U.S.C. §§ 1408 and 1409.
 9               The statutory predicates for the relief sought herein are
10   sections 105(a), 363, 507(a) and 1108 of the Bankruptcy Code
11   11 U.S.C. §§ 101 et seq., Federal Rules of Bankruptcy Procedure
12   (“FRBP”) 2002 and 9014, and Local Bankruptcy Rules 2081-1(a)(6) and
13   9075-1.
14               This case was commenced by the filing of a voluntary Chapter
15   11 petition on February 24, 2022 (the “Petition Date”).                                  No trustee
16   has been appointed, no Committee of Unsecured Creditors has been
17   appointed and Debtor is operating as a Debtor-in-Possession.
18                                                             II.
19                                              SUMMARY OF RELIEF REQUESTED
20               Debtor seeks authority to immediately pay payroll wage claims,
21   pay payroll taxes and honor employee benefits which are entitled to
22   priority under Section 507(a)(4) and (5).                              Debtor does NOT seek
23   authority to pay such claims in excess of the priority dollar
24   limits specified in those provisions.
25   / / /
26   / / /
27   / / /
28   / / /


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 1                                                            III.
 2                             BACKGROUND CONCERNING THE DEBTOR, ITS BUSINESS
 3                                             AND ITS FINANCIAL DIFFICULTIES
 4               The following summary of facts is derived from the separately
 5   filed Declaration of Jacqueline Duvivier (the “Duvivier
 6   Declaration”).                         Ms. Duvivier is the CBO and Debtor’s business
 7   manager.                She is also a minority shareholder of the Debtor.
 8   A.          BROAD SUMMARY
 9               Debtor manufactures, packages and distributes pre-packaged
10   meals on a contract basis for specified periods of time to
11   approximately 400 clients including schools, residential care
12   facilities, senior care facilities, rehabilitation facilities and
13   others in California and Nevada.                            Those clients distribute the
14   meals to thousands of low income people including school children,
15   those in senior care facilities, medical facilities and in other
16   settings.                 The meals provided include breakfast, lunch, dinner and
17   snacks.
18               The meals are manufactured and assembled in Los Angeles
19   County, California at Debtor’s primary headquarters in the City of
20   Commerce and distributed through leased warehouses in several
21   “regions”.
22   B.          ABBREVIATED SUMMARY OF DEBTOR’S FINANCIAL CONDITION
23               The Debtor operates on a July 1 - June 30 fiscal year.
24   Debtor’s net income for the 2020-2021 fiscal year was approximately
25   $3.6 million on gross sales of $48.2 million.                              True and correct
26   copies of Debtor’s unaudited financial statements for that fiscal
27   year are attached to the Duvivier Declaration as Exhibit “A-1”.
28   Debtor’s net income for this 2021-2022 fiscal year to date (through


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 1   December 31, 2021) has been approximately $3.4 million on gross
 2   sales of $31.6 million.                          This interim period is unaudited and
 3   subject to modification.                          Accounts receivables are $8.9 million
 4   and, given the nature and identity of the account debtors, the
 5   accounts are deemed to be reliably collectible.                               True and correct
 6   copies of Debtor’s financial statements for this fiscal year to
 7   date, including agings for the receivables and payables, are
 8   attached to the Duvivier Declaration as Exhibit “A-2”.
 9               Debtor has two wholly owned subsidiaries.                        Balance Foods, LLC
10   is in the business of manufacturing and providing snack food
11   products included in some of the meals prepared by the Debtor.
12   Moreno Bros. Distributing, LLC is in the distribution business.                                        On
13   February 24, 2022 the Los Angeles Superior Court issued an Order
14   appointing a Receiver to liquidate the assets of those two
15   entities.
16               Until the month of February, 2021, Debtor employed a full time
17   CFO who was experiencing serious personal problems.                                The extent of
18   these problems was unknown to Debtor’s management.                               As a result of
19   these problems, however, the CFO began to perform erratically.
20   This included failing to properly maintain Debtor’s books and
21   records for the last 3 quarters of 2021 and the current first
22   quarter of 2022.                         The problems were not discovered until about
23   October, 2021.
24               Debtor has placed the CFO on leave with reduced duties and is
25   undergoing an internal audit to correct the accounting errors, but
26   these problems caused Debtor to default on its credit facility with
27   Bank Leumi (“Leumi”).                          Leumi called the term loan and demanded
28   immediate payment of both loans, approximately $16 million.                                  Debtor


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 1   was unable to “write a check”.                            This case was filed only after last
 2   minute efforts to negotiate a settlement with Leumi were not
 3   successful and just minutes before a hearing in Los Angeles
 4   Superior Court at which Leumi was seeking to impose a Receiver to
 5   liquidate Debtor’s business.
 6               But for the demand by Leumi for immediate payment of the full
 7   amount of its claim, Debtor would not have needed to seek relief
 8   under Title 11.                         Debtor has been, and continues to be profitable.
 9   Debtor is still working to overcome the accounting issues created
10   by its CFO.
11   C.          DEBTOR’S EMPLOYEES
12               Debtor employs approximately 550 individuals, mostly in
13   California and Nevada (with a few who live in Arizona).                                  Debtor is
14   a non-union shop.                         Debtor was current on its payroll and federal
15   payroll tax obligations through the Petition Date, and employee
16   claims are related to either the “stub period” immediately
17   preceding the Petition Date or accrued obligations for PTO and
18   vacation time.
19               Debtor normally pays two separate payrolls: hourly employees
20   are paid on the 10th and 25th of each month.                            Salaried employees are
21   paid on the 15th and last day of each month.                             Each payroll covers a
22   period 25 to 10 days before the paydate.                             Debtor last paid payroll
23   for both groups of employees for the period ending February 15,
24   2022.
25               This case was filed on February 24, 2022 (the “Petition
26   Date”).               Hourly employees are owed wages for the “stub period” from
27   February 16, 2022 through February 24, 2022.                              The normal pay-date
28   for this payroll is March 10, 2022.                             Salaried employees are owed


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 1   wages for the stub period from February 16, 2022 through February
 2   24, 2022.                 The normal pay-date for this payroll is March 15, 2022.
 3               To be absolutely clear, this motion does NOT seek authority to
 4   use cash collateral - which is the subject of a separately filed
 5   motion or to pay amounts in excess of the statutory priority amount
 6   specified in Section 507(a)(4) and (5).
 7                                                             IV.
 8                           SPECIFIC INFORMATION ABOUT INDIVIDUAL EMPLOYEES
 9               Attached to the Duvivier Declaration as Exhibit “I” is a
10   schedule of employees.                          Names have been redacted, however
11   individual employees can be identified by their employee numbers.
12   Insiders are designated with yellow highlighting.                               Those holding
13   claims in excess of the statutory priority amount specified in
14   Section 507(a)(4) and (5) appear on two consecutive line items -
15   one showing the priority claim amount (Bankruptcy Schedule E) and
16   the other showing the excess as a general unsecured claim
17   (Bankruptcy Schedule F).                          Again, only the Schedule E priority
18   claims are at issue in this motion.
19               Debtor proposes to pay in cash only the actual wages and
20   related withholding taxes.                           PTO and vacation claims will be
21   satisfied in the ordinary course of Debtor’s business as may be
22   requested by individual employees, as governed by Debtor’s employee
23   manual and applicable non-bankruptcy law.
24               If cash collateral is authorized to pay the wages, Debtor will
25   also pay employer’s taxes related to the payroll.
26   / / /
27   / / /
28   / / /


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 1                                                             V.
 2                                          GOOD CAUSE EXISTS TO GRANT THE MOTION
 3               The Debtor provides pre-packaged meals to thousand of low
 4   income individuals.                         Those meals are prepared, packed and shipped
 5   by approximately 550 employees.                            Most are hourly low or minimum-
 6   wage workers who have families which depend on their income.
 7               If this motion is denied, Debtor will be required to
 8   immediately cease operations. Further, given Leumi’s liens, it is
 9   likely that the liquidation value (not the going concern value) of
10   Debtor’s business will be insufficient to pay Leumi’s claim leaving
11   all other creditors, including employees, without any recovery.
12               From a legal perspective, what Debtor proposes to pay are
13   claims entitled to priority under 11 U.S.C. §507(a)(4) and (5).
14   Provided that Leumi is adequately protected (an issue to be
15   considered in the context of Debtor’s cash collateral motion), the
16   claims of these creditors are senior in priority to all other pre-
17   petition claims.                         It is generally recognized that the continuation
18   of a stable employee base and harmonious employee relations in
19   operating Chapter 11 cases is critical to reorganization. See LTV
20   Corp. v Aetna Cas. & Surety Co. (In re Chateaugay Corp.), 116 B.R.
21   887, 898 (Bankr. S.D. N.Y. 1990).                              Accordingly, bankruptcy courts
22   have authorized debtors to pay prepetition priority wage claims as
23   a means of allowing debtors to maintain their work force and
24   thereby preserve the debtors’ ability to operate in the ordinary
25   course, without the disruption of employee defections.
26               The Bankruptcy Court in In re Braniff, Inc., 218 B.R. 628, 633
27   (Bankr. M.D. Fla. 1998) discussed the reasons for allowing payment
28   of prepetition payroll as follows:


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 1               In the early days of this case, the court entered orders
                 permitting the post-petition payment of certain
 2               pre-petition wages and wage-related claims. As is often
                 the case in operating Chapter 11 cases, the court did
 3               this for two reasons. First, it was necessary that
                 Braniff pay its employees for work performed pre-petition
 4               if the employees were to remain on the job post-petition.
                 The filing of a bankruptcy case presents many
 5               uncertainties for employees. If their pay is interrupted,
                 employees are obviously not going to remain on the job
 6               despite the fact that their continuation in place is
                 vitally important for the debtor.
 7
                 Second, in any event, the pre-petition wages are subject
 8               to the priority of Section 507(a)(3) [now 507(a)(4)].
                 Thus, in all but the direst of circumstances, the debtor
 9               will ultimately pay the pre-petition wages because of
                 their very high priority. Accordingly, the court
10               authorizes their payment early in the case rather than
                 requiring that the employees wait for payment at the end
11               of the case.
12   See also In re Columbia Gas Systems, Inc., 171 B.R.189, 191-92
13   (Bankr. D. Del. 1994) (holding that to justify payment of one class
14   of prepetition creditors in advance of confirmed plan, Chapter 11
15   debtor must show that payment is essential to continued operation
16   of business); In re Lehigh & New England Ry. Co., 657 F.2d 570,
17   581-82 (3rd Cir.1981) (in order to authorize immediate payment to
18   certain creditors, a real and immediate threat must exist that
19   failure to pay will place the continued operation of the business
20   in serious jeopardy). Collier on Bankruptcy explains the issue as
21   follows:
22               Because wages are priority claims, courts have often
                 permitted debtors to pay prepetition wage claims in the
23               ordinary course in response to a motion filed by a debtor
                 in possession at the commencement of a chapter 11 case.
24               The ability to ensure that the employees receive their
                 unpaid prepetition salary and to not miss a paycheck is
25               critical to obtaining the stability necessary for the
                 transition to operating as a debtor in possession.
26
     Collier on Bankruptcy, P 507.06[1] (Alan N. Resnick & Henry J.
27
     Sommer eds., 16th ed.).
28
                 Applied here, the filing of this bankruptcy case will

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 1   undoubtedly create uncertainty for the Debtor’s employees.                                 The
 2   Debtor believes it is important to provide some assurance to
 3   employees that they will continue to receive the pay and benefits
 4   properly due to them.
 5               It is common knowledge that employers are struggling to find
 6   employees, particularly in the food service business.                                Debtor
 7   cannot afford to lose its employees.                             Paying payroll on a timely
 8   basis is imperative to keeping operations going.
 9               Payroll taxes withheld from an employee’s wages on behalf of
10   an applicable taxing authority are held in trust by the Debtor. As
11   such, those funds are not property of the Debtor’s estate under
12   Section 541 of the Bankruptcy Code. See Begier v. IRS, 496 U.S. 53
13   (1990) (holding that withholding taxes are property held by a
14   debtor in trust for another and, as such, are not property of the
15   debtor’s estate).
16               As priority claims, these obligations must be paid in full
17   before any of the Debtor’s general unsecured obligations may be
18   satisfied.                   The relief requested herein affects only the timing of
19   payment of these priority obligations.                             It does not prejudice the
20   rights of general unsecured creditors or other parties in interest.
21               As set forth in the Duvivier Declaration, the payments
22   proposed to be made by the Debtor pursuant to this motion will not
23   render the Debtor administratively insolvent.
24               Because retaining Debtor’s employees is critical to the
25   survival of its business, Debtor believes that granting the relief
26   requested herein is appropriate, entirely consistent with the
27   rehabilitative purposes of Chapter 11, and in the best interest of
28   its estate and creditors.


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                                          VI.

  2                        EMERGENCY RELIEF IS APPROPRIA

  3        Procedural authorization for an emergency h aring on this
  4   emergency motion is found in Rule 90065 of the F deral Rules of
  5   Bankruptcy Procedure ("FRBP"), and in Local Bank uptcy Rule ("LBR")
  6   9075-1(c)6. As discussed herein and as set forth in the supporting
  7   Duvivier Declaration, the Debtor respectfully su mits that, on the
  8   facts of this case, emergency relief is both nec ssary and

  9   appropriate.

 10                                       VI.

 11                                    CONCLUSION

 12        Based on the forgoing, Debtor respectfully         equests that this
 13   Court enter an Order authorizing Debtor to pay p e-petition payroll

 14   obligations, including PTO time and vacation tim, to Debtor's
 15   employees in amounts not to exceed $13,650 per e                which have

 16   accrued during the "stub period" immediately bef                Petition

 17   Date, and to provide such other and further reli f as the Court

 18   deems appropriate.
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
206 N. Jackson St. Ste. 201, Glendale, CA, 91206


A true and correct copy of the foregoing document entitled (specify): EMERGENCY MOTION FOR ORDER
AUTHORIZING DEBTOR TO PAY PRE-PETITION PRIORITY PAYROLL CLAIMS, PAYROLL RELATED
TAXES AND TO HONOR PRE-PETITION EMPLOYEE BENEFITS OBLIGATIONS; MEMORANDUM OF POINTS AND
AUTHORITIES will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
2/28/2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

       Eryk R Escobar eryk.r.escobar@usdoj.gov
       Mark D Hurwitz mhurwitz@lsl-la.com, dsmall@lsl-la.com,narutunyan@lsl-la.com
       David A Tilem davidtilem@tilemlaw.com,
        DavidTilem@ecf.inforuptcy.com;joanfidelson@tilemlaw.com;JoanFidelson@ecf.inforuptcy.com;TilemDR69450@
        notify.bestcase.com
       United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
       Larry D Webb Webblaw@gmail.com, larry@webblaw.onmicrosoft.com


                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On             , I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.



                                                                                        Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)            , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 2/28/2022            Joan J. Fidelson                                                          /s/ Joan J. Fidelson
 Date                        Printed Name                                                       Signature

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
